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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                 Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,                                  ORAL ARGUMENT REQUESTED

       Defendants.



             UNOPPOSED JOINT MOTION AS TO AGREED UPON
       ORDER OF CONFIDENTIALITY CONCERNING PRIVILEGE LOGS OF
        INTERVENORS EBAY INC. AND MORGAN LEWIS & BOCKIUS LLP

       NOW COME Defendant Jim Baugh (“Defendant”) and Intervenors eBay Inc. (“eBay”)

and Morgan Lewis & Bockius LLP (“Morgan Lewis,” and together with eBay and Defendant,

“Movants”), through their undersigned counsel, and respectfully move this Court to enter the

attached [Proposed] Agreed Upon Order of Confidentiality Concerning Privilege Logs of

Intervenors eBay Inc. and Morgan Lewis & Bockius LLP (the “Order”) in connection with the

privilege log(s) to be provided by Intervenors to Defendant in connection with this matter. As

grounds for the motion, Movants state as follows:

       1.      eBay and Morgan Lewis anticipate providing Defendant with logs reflecting

documents that are potentially responsive to Defendant’s Rule 17(c) subpoenas as issued but are

subject to claims of privilege or other protection from disclosure, without waiver by Intervenors

of any objections or challenges to the Rule 17(c) subpoenas.

       2.      Intervenors contend that the privilege logs contain sensitive personal information

or information that is trade secret, commercially sensitive and/or highly confidential and that

would in the ordinary course by treated as confidential and not disclosed to third parties. The

proposed Order will afford Defendant access to the privilege logs in a manner that protects this
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sensitive information, while allowing Movants to potentially narrow the areas of disagreement

between Movants and allow for more efficient briefing of and decision on the remaining issues.

       3.      Counsel for eBay has conferred with counsel for the government and counsel for

Defendant David Harville regarding the relief requested herein. Counsel for the government and

counsel for Harville indicated that they did not object to the relief sought in this motion.

       WHEREFORE, eBay, Morgan Lewis, and Defendant respectfully request that the Court

grant this joint motion to enter the attached [Proposed] Agreed Upon Order of Confidentiality

Concerning Privilege Logs of Intervenors eBay Inc. and Morgan Lewis & Bockius LLP.

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d) and to the extent it would aid the Court, Movants hereby

request the opportunity to be heard on the relief requested herein.

Dated: November 5, 2021                           Respectfully submitted,


 /s/ William W. Fick                               /s/ Jack W. Pirozzolo
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                      CERTIFICATION PURSUANT TO L.R. 7.1(A)(2)

       I, Jack W. Pirozzolo, counsel for eBay, hereby certify that, in accordance with Local Rule

7.1(a)(2), I have conferred with counsel for the government, who does not object to the relief

requested in this motion. I further certify that I have conferred with counsel for David Harville,

who does not object to the relief requested in this motion.



Dated: November 5, 2021                                       /s/ Jack W. Pirozzolo
                                                              Jack W. Pirozzolo




                                CERTIFICATE OF SERVICE

       I hereby certify that on November 5, 2021, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants.



Dated: November 5, 2021                                   /s/ Jack W. Pirozzolo
                                                          Jack W. Pirozzolo




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